                             Case 1:21-cr-00409-UNA Document 11 Filed 10/19/21 Page 1 of 1
U.S. Department of Justice
United States Attorney




                                       IN THE UNITED STATES DISTRICT COURT
                                           FOR THE NORTHERN DISTRICT OF GEORGIA

                                                                 Division: Atlanta
                                                                 (USAO: 2021R00872)
                                                                                               1:21-CR-409
                                     DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION


COUNTS NAME:                 Henry                                       DISTRICT COURT NO.

                                                                         MAGISTRATE CASE NO. 1:21-MJ-927

X Indictment                                       Information                               X Magistrate's Complaint
DATE: October 19,2021                              DATE:                                     DATE: October 1,2021

                              UNITED STATES OF AMERICA                   SUPERSEDING INDICTMENT
                                         vs.                            Prior Case Number:
                                JAIME CRUZ DUARTE                       Date Filed:

GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                           Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No


Will the defendant require an interpreter? X Yes No
What language? Spanish




District Judge:
Magistrate Judge:



Attorney: Zachary S. Howard
Defense Attorney: Caitlyn Virginia Wade
